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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                     (Baltimore Division)

    In re                                                    Case No. 25-10308 (DER)

    Diamond Comic Distributors, Inc., et al.,                Chapter 11

                             Debtors.1                       (Jointly Administered)

                                                             Re: D.I. 531

                      STIPULATION TO EXTEND OBJECTION DEADLINE

            The above-captioned debtors and debtors in possession (the “Debtors”) and Image Comics,

Inc. (“Image”), by and through their undersigned counsel, hereby stipulate that Image’s deadline

to object to the Debtors’ Motion for Entry of an Order Approving (I) Procedures for Sale or Other

Disposition of Consigned Inventory, (II) Approving Sales or Other Disposition of Consigned

Inventory Free and Clear of Liens, Claims, Interests or Encumbrances and (III) Granting Related

Relief [D.I. 531] is extended to July 18, 2025 at 12:00 p.m. (ET).

                                [Remainder of Page Left Intentionally Blank]




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      The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
      numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
      (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
      Road, Suite 300, Hunt Valley, Maryland 21030.
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Dated: July 16, 2025

 SAUL EWING LLP

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 Counsel for Debtors and Debtors in Possession




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